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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Lewis A. Anderson,                       )
                                         )
       Plaintiff,                        ) Civil Action File No.:
                                         )
v.                                       )
                                         )
Experian Information Solutions,          )              COMPLAINT
Inc.,                                    )    WITH JURY TRIAL DEMAND
                                         )
       Defendant.                        )


                         PRELIMINARY STATEMENT

      1.     The United States Congress has found the banking system is dependent

upon fair and accurate credit reporting. Inaccurate credit reports directly impair the

efficiency of the banking system, and unfair credit reporting methods undermine the

public confidence, which is essential to the continued functioning of the banking

system. Congress enacted the Fair Credit Reporting Act, 15 U.S. Code § 1681, et

seq. (the “FCRA”) to ensure fair and accurate reporting, promote efficiency in the

banking system, and protect consumer privacy.

      2.     Under the FCRA, consumer reporting agencies are charged with two

primary duties: the duty to follow reasonable procedures to assure maximum


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possible accuracy of information when preparing consumer reports; and the duty to

reasonably reinvestigate consumers’ disputes of inaccurate information, and then

appropriately correct or modify the disputed information. A consumer reporting

agency’s duty to reasonably reinvestigate consumers’ disputes of inaccurate

information explicitly includes the duty to notify the furnisher of the disputed

information. This is because the furnisher of the disputed information stands in a

better position to make a thorough investigation of the disputed information than the

credit reporting agency.

      3.     Defendant compiles, maintains, and reports information concerning

Plaintiff’s credit-worthiness, credit-standing, credit capacity, character, and general

reputation. That information is then made available for use by third-parties in credit

transactions involving Plaintiff, for employment purposes, the underwriting of

insurance for Plaintiff, and even in connection with a determination of Plaintiff’s

eligibility for a license or other governmental benefit. Accordingly, and pursuant to

various provisions of the FCRA, Plaintiff has a legally protected interest in

Defendant fulfilling its respective duties under the FCRA, so that the information

reported and maintained by Defendant is done so in a manner which is fair and




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equitable to Plaintiff, with regards to the confidentiality, accuracy, and relevancy of

that information.

      4.     This action for damages is based on Defendant’s false reporting on

Plaintiff’s credit files and/or consumer reports, failures to follow reasonable

procedures to assure maximum possible accuracy of the information concerning

Plaintiff, and failures to conduct reasonable investigations and reinvestigations with

respect to disputes of such information.

                                      PARTIES

      5.     Plaintiff, Lewis A. Anderson, is a natural person who resides in Henry

County, Georgia.

      6.     Plaintiff is an individual and is, therefore, a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

      7.     Defendant,    Experian    Information    Solutions,    Inc.   (hereinafter

“Experian”), is a corporation formed under the laws of the State of California and

registered to do business in the State of Georgia. Experian may be served with

process via its registered agent, C T Corporation System at 89 S Culver St,

Lawrenceville, GA, 30046-4805.




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      8.     Experian regularly assembles and/or evaluates consumer credit

information for the purpose of furnishing consumer reports to third parties and uses

interstate commerce to prepare and/or furnish the reports. Accordingly, Experian is

a “consumer reporting agency” as that term is defined by 15 U.S.C. § 1681a(f).

                          JURISDICTION AND VENUE

      9.     This Court has federal question jurisdiction over Plaintiff’s Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq., claims pursuant to 15 U.S.C. §

1681p and 28 U.S.C. § 1331.

      10.    This Court has personal jurisdiction over Defendant pursuant to

O.C.G.A. § 9-10-91(1) because, inter alia, Defendant frequently and routinely

conducts business in the State of Georgia, including the conduct complained of

herein.

      11.    Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      12.    Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division because

Defendant maintains an agent for service of process within the Atlanta Division.




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                           ALLEGATIONS OF FACT

                               Plaintiff’s Mortgage

      13.    On or about April 30, 2004, Plaintiff obtained a residential home loan

from SunTrust Mortgage, Inc. for the original principal amount of $156,709.00 (the

“Mortgage”).

      14.    The Mortgage was eventually serviced by Truist Bank, Inc. (“Truist”).

      15.    On March 18, 2022, Plaintiff filed a Chapter 13 Voluntary Bankruptcy

Petition in the United States Bankruptcy Court for the Northern District of Georgia,

(the “Bankruptcy Case”).

      16.    Plaintiff has continued to make his post-filing Mortgage payments to

Truist, and Truist has continued to service Plaintiff’s Mortgage and accept his post-

discharge Mortgage payments.

                  Effect of Consumer Reports Which Contain
                     Inaccurate or Misleading Information

      17.    Under the FCRA, the term “consumer report” generally refers to:

             any written, oral, or other communication of any information by
             a consumer reporting agency bearing on a consumer’s credit
             worthiness, credit standing, credit capacity, character, general
             reputation, personal characteristics, or mode of living which is
             used or expected to be used or collected in whole or in part for
             the purpose of serving as a factor in establishing the consumer’s
             eligibility for:

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                    i.      credit or insurance to be used primarily for personal,
                            family, or household purposes;

                    ii.     employment purposes; or

                    iii.    any other purpose authorized under section 1681b
                            of this title.
             15 U.S.C. § 1681a(d)(1).

      18.    The information contained in a consumer report bears on a consumer’s

credit worthiness, credit standing, credit capacity, character, general reputation, and

personal characteristics.

      19.    The information contained in a consumer report can have a tremendous

effect on the consumer; to name only a few, the report can impact the consumer’s:

             a.     Eligibility for and terms for credit;

             b.     Potential for refinancing of existing credit;

             c.     Eligibility for leasing prospects;

             d.     Eligibility for utility services;

             e.     Eligibility for and the terms of insurance;

             f.     Employment or potential employment;

             g.     Accounts which are under collection or review;

             h.     Eligibility for a license or other benefit granted by a

                    governmental       instrumentality,     particularly   where     the

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                   instrumentality is required by law to consider an applicant’s

                   financial responsibility or status;

            i.     Standing with potential investors or servicers; and

            j.     Eligibility for individually-billed travel charge cards used by

                   executive departments and agencies.

      20.   The terms “consumer report”, “credit report”, and “consumer credit

report” are used synonymously herein.

      21.   Approximately two million consumer reports are issued by credit

bureaus each day. See, Robert B. Avery, Paul S. Calem, and Glenn B. Canner,

Federal Reserve Board, Division of Research and Statistics, and Raphael W. Bostic,

University of Southern California, An Overview of Consumer Data and Credit

Reporting        (February       2003),       p.         48-49,   available      at

https://www.federalreserve.gov/pubs/bulletin/2003/0203lead.pdf,      archived    at

https://perma.cc/DCY4-ZS6C (last accessed on December 12, 2022).

      22.   In 2012, the Federal Trade Commission conducted a study regarding

consumer credit reporting errors and determined that anywhere from 10 to 21 percent

of consumers have confirmed errors on their consumer reports. Federal Trade

Commission, Report to Congress under Section 319 of the Fair and Accurate Credit


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Transactions Act of 2003 (December 2012), p. iv of Executive Summary, available

at   https://www.ftc.gov/sites/default/files/documents/reports/section-319-fair-and-

accurate-credit-transactions-act-2003-fifth-interim-federal-trade-

commission/130211factareport.pdf, archived at https://perma.cc/R3P4-FGV9 (last

accessed on December 12, 2022).

      23.    The FTC study found that not only do these errors adversely affect

consumers’ credit scores, but the estimated proportion of reports and consumers who

experience a positive credit score change resulting from the correction of these

errors is higher than previous estimates from the credit reporting industry. Id.

                                   Credit Scoring

      24.    The Fair Isaac Corporation credit risk scoring system, commonly

referred to as “FICO”, is the leading credit scoring system and utilizes data reported

by credit reporting agencies. See, https://www.myfico.com/credit-education/credit-

scores/ (last accessed on December 12, 2022).

      25.    The Fair Isaac Corporation uses the data in consumer reports to

calculate consumers’ credit scores (also known as credit risk scores). Id.

      26.    The term “credit score” is a numerical value or a categorization derived

from a statistical tool or modeling system used by a person who makes or arranges


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a loan to predict the likelihood of certain credit behaviors, including default.

Consumer Financial Protection Bureau, Supervision and Examination Manual,

Version        2      (October         2012),         p.     53,      available      at

http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-examination-

manual-v2.pdf, archived at http://perma.cc/JF32-RFAA, (last accessed on

December 12, 2022).

      27.     FICO scores are calculated from five main categories of credit data in

a consumer’s credit report. Those categories, and their weighted values, are as

follows: payment history accounts for 35% of a consumer’s FICO score;

debt/amounts owed accounts for 30% of a consumer’s FICO score; age/length of

credit history accounts for 15% of a consumer’s FICO score; new credit/recent

inquiries accounts for 10% of a consumer’s FICO score; and mix of accounts/types

of   credit   accounts    for    10%    of       a   consumer’s    FICO   score.   See,

https://www.myfico.com/credit-education/whats-in-your-credit-score/, archived at

https://perma.cc/E8Y3-F4AA (last accessed December 12, 2022).

      28.     Payment history is the most important aspect of a consumer’s credit

score because it shows how the consumer has managed his finances, including any

late payments. Credit history is also very important, as it demonstrates how long the


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consumer has been managing his accounts, when his last payments were made, and

any recent charges. See, https://www.transunion.com/credit-score, archived at

https://perma.cc/NRZ4-W83U (last accessed December 12, 2022).

      29.    The cost of credit (e.g., interest rates, fees, etc.), the availability of

credit, ratings for insurance products, and even unsolicited credit offers, such as the

opportunity to refinance a mortgage at a lower interest rate, extended financing

periods and lower rate auto loans, and even zero-percent financing credit offers for

in-store credit lines, are all, by and large, driven by a consumer’s credit score.

      30.    Inaccurate or incorrect credit reporting very often results in a lower

FICO and other credit scoring model scores, and thus higher costs of credit,

diminished opportunity, and less purchasing power for consumers.

      31.    Incorrectly reporting the tradeline of Plaintiff’s Mortgage—which is

open, active, and has a balance that Plaintiff is making payments on—with incorrect,

outdated payment information and as having a $0 balance, adversely affects

Plaintiff’s FICO scores, as it excludes any recent positive payment history associated

with the Mortgage, it alters the age/length of credit history, and it alters the mix of

accounts/types.




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        32.     There is no established rule or threshold for classifying the significance

of a credit score change as minor or major because the impact of a change in score

is dependent on the current score. That is, a twenty-five-point change in a credit

score that keeps the consumer in a particular credit risk category may not have a

large impact on the person’s likelihood of receiving credit. However, a one-point

change in credit score that moves the consumer from one risk tier to the next may

have a large impact on the consumer’s access to credit or the products and rates the

consumer is able to secure.

        33.     Consistent with FTC study, the Fair Isaac Corporation states that

inaccurate or incorrect information on a consumer’s credit report can hurt their score.

See,          https://www.myfico.com/credit-education/questions/fix-errors-on-credit-

report/, archived at https://perma.cc/9TQN-S5WP (last accessed December 12,

2022).

                             Credit-Based Insurance Scoring

        34.     Other entities that regularly review consumer reports, and use the data

contained therein, are insurance companies.

        35.     Insurance companies use a scoring mechanism which is similar to, but

distinct from, the “credit score” used by creditors.


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      36.    Credit-based insurance scores, like credit scores themselves, are

numerical summaries of consumers’ credit histories; credit-based insurance scores

are typically calculated using a multitude of information, including, but not limited

to, the length and age of credit history and the use of certain types of credit. Federal

Trade Commission, Credit-Based Insurance Scores: Impacts on Consumers of

Automobile Insurance (July 2007), p. 11, available at

https://www.ftc.gov/sites/default/files/documents/reports/credit-based-insurance-

scores-impacts-consumers-automobile-insurance-report-congress-federal-

trade/p044804facta_report_credit-based_insurance_scores.pdf,           archived      at

https://perma.cc/B2VQ-452N (last accessed December 12, 2022). As cited in Ins.

Inst. V. Commissioner, 486 Mich. 370, 785 N.W.2d 67 (2010).

      37.    Credit-based insurance scores evolved from traditional credit scores,

and all major automobile insurance companies use credit-based insurance scores in

some capacity; insurers use these scores to assign consumers to risk pools and to

determine the premiums that they pay. Id. at 22.

      38.    A Wallethub study determined that a change in credit scores caused a

consumer’s automobile insurance rates to rise by an average of 67% nationwide, and

an average of 84% in Georgia. 2018’s States Where Credit Scores Affect Car


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Insurance the Most – Credit Score & Car Insurance Report, available at

https://wallethub.com/edu/car-insurance-by-credit-score-report/4343/, archived at

https://perma.cc/CSL8-D47Y (last accessed December 12, 2022).

       39.   Homeowner’s insurance companies also use credit scores to decide

whether to issue policies, and on what terms. A higher credit score is taken to mean

that a consumer is less of a risk, which, in turn, means the consumer is more likely

to be able to obtain insurance, and pay less for it.

See     https://www.consumer.ftc.gov/articles/0152-credit-scores,     archived     at

https://perma.cc/EB3D-54UP (last accessed December 12, 2022).

       40.   The National Association of Insurance Commissioners (“NAIC”) is the

U.S. standard-setting and regulatory support organization created and governed by

the chief insurance regulators from the 50 states, the District of Columbia, and five

U.S. territories. See, http://www.naic.org/index_about.htm (last accessed December

12, 2022).

       41.   The NAIC advises consumers who find errors on their credit reports to

contact the credit reporting company to have the errors corrected, as the errors can

affect the consumer’s credit-based insurance score. National Association of




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Insurance Commissioners, Credit-Based Insurance Scores: How an Insurance

Company Can Use Your Credit to Determine Your Premium, available at

http://www.naic.org/documents/consumer_alert_credit_based_insurance_scores.ht

m, archived at https://perma.cc/S4F2-9VTL (last accessed December 12, 2022).

      42.    There are several different companies that create credit-based insurance

score reports for insurers to use, including the Fair Isaac Corporation. In calculating

credit-based insurance scores, FICO looks at five general areas it believes will best

determine how an individual manage risks. Id.

      43.    The following is a breakdown of what FICO considers in calculating

credit-based insurance scores, and how much the information generally weighs in

that calculation: payment history accounts for 40% of a consumer’s of a consumer’s

FICO credit-based insurance score; debt/amounts owed accounts for 30% of a

consumer’s of a consumer’s FICO credit-based insurance score; age/length of credit

history accounts for 15% of a consumer’s FICO credit-based insurance score; new

credit/recent inquiries accounts for 10% of a consumer’s of a consumer’s FICO

credit-based insurance score; and, mix of accounts/types of credit accounts for 5%

of a consumer’s of a consumer’s FICO credit-based insurance score. Id.




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      44.    Incorrectly reporting the tradeline of Plaintiff’s Mortgage—which is

open, active, and has a balance that Plaintiff is making payments on—with incorrect,

outdated payment information and as having a $0 balance, adversely affects

Plaintiff’s FICO credit-based insurance scores, as it excludes any recent positive

payment history associated with the Mortgage, it alters the age/length of credit

history, and it alters the mix of accounts/types.

      45.    15 U.S.C. § 1681e(b) requires consumer reporting agencies to follow

reasonable procedures to assure maximum possible accuracy of information

concerning the individual about whom a report relates. Similarly, 15 U.S.C. §

1681i(a)(1) requires consumer reporting agencies to conduct reasonable

reinvestigations of a consumer’s dispute of the completeness or accuracy of any item

of information contained in the consumer’s file.

      46.    As an integral aspect of its duties under the FCRA, Experian is required

to have in place adequate and reasonable policies and procedures to assure the

maximum possible accuracy of information concerning individuals about whom

Experian produces reports; the requirement to maintain reasonable procedures

extends to Experian’s handling and reinvestigation of disputed information.




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      47.    The FCRA requires CRAs to implement an automated reinvestigation

system through which furnishers of information to the CRA may report the results

of a reinvestigation that finds incomplete or inaccurate information in a consumer’s

file. 15 U.S.C. § 1681i(a)(5)(D).

      48.    To comply with the automated dispute reinvestigation requirements of

the FCRA, Trans Union, Equifax, and Experian (the three major “National CRAs”),

along with Innovis Data Solutions, Inc., developed and implemented a browser-

based software system that allows the CRAs to electronically notify furnishers

quickly and easily of disputed credit reporting information, and for furnishers to

quickly and easily respond to such disputes following the furnisher’s investigation

of the disputed information.

      49.    The system is commonly referred to as e-OSCAR (Online Solution for

Complete and Accurate Reporting) and was designed to be Metro 2 compliant. See

http://www.e-oscar.org/ (last accessed December 12, 2022).

      50.    The e-OSCAR system primarily supports Automated Credit Dispute

Verification (“ACDV”) and Automated Universal Data Form (“AUD”) processing,

as well as other consumer-dispute-related processes. Id.




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      51.   The National CRAs, provide notice of a consumer’s dispute to data

furnishers in the ACDV format, and forward the ACDV to the furnisher through e-

OSCAR.

      52.   If a furnisher’s investigation of a consumer’s dispute determines that

the information in dispute is incomplete or inaccurate, the FCRA requires the

furnisher to correct the information not only with the CRA that sent the ACDV, but

with all other CRAs to whom the furnisher reported that information. 15 U.S.C. §

1681s-2(b)(1)(D).

      53.   The e-OSCAR system facilitates the furnisher’s compliance with 15

U.S.C. § 1681s-2(b)(1)(D) by sending a “Carbon Copy” of an ACDV response “to

each CRA with whom the [furnisher] has a reporting relationship” in addition to the

response to the initiating CRA. See https://www.e-oscar.org/implementation/about-

us (last accessed December 12, 2022).

      54.   Additionally, a furnisher can manually correct a tradeline with a CRA

other than the one that initiated a dispute by sending an AUD within e-OSCAR.

      55.   Experian requires data furnishers that report to Experian to register with

and use e-OSCAR, and states that e-OSCAR is “in compliance with FCRA and




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Metro 2 standards.” See, https://www.transunion.com/data-reporting/support-teams

(last accessed December 12, 2022).

      56.   Because consumer credit information changes monthly, failure to

update that information on a monthly basis, yet still publishing reports containing

the previously reported information without updates, means that the information

being reported is almost certainly incomplete, inaccurate, and misleading.

                     Plaintiff’s Experian Consumer Report

      57.   On or about January of 2023, Plaintiff obtained a copy of his consumer

report as published by Experian.

      58.   That report contained erroneous information as provided by Truist, and

as published and reported by Experian.

      59.   The relevant portion of the Truist tradeline appeared in the January of

2023 Experian report as having a balance of $0, a monthly payment of $0, and being

closed.

      60.   Because the Mortgage is not closed, the Mortgage was not discharged

in Plaintiff’s Bankruptcy Case, and Plaintiff continues to make payments to Truist

on the Mortgage, the information described above was both false and misleading in

a number of key respects (the “Inaccurate Reporting”), including the account’s


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balance is reported as $0, rather than the actual current, correct balance of the

account.

      61.    In a letter dated July of 2023, Plaintiff disputed the inaccurate and

misleading information directly to Experian and advised Experian that his mortgage

was not closed, did not have a balance of $0, or a monthly payment of $0.

      62.    The dispute letter provided Defendant with sufficient information to

identify and correct the inaccurate reporting.

      63.    In support of Plaintiff’s dispute, Plaintiff included with his dispute a

recent payoff statement showing the continuation of Plaintiff’s obligation and a copy

of the Proof of Claim filed by Truist.

      64.    Pursuant to 15 U.S.C. § 1681i, Experian had a duty to notify Truist of

Plaintiff’s dispute within five business days of receiving the dispute, to forward the

supporting documents submitted with Plaintiff’s dispute for Truist’s review, to

conduct a reasonable reinvestigation of the disputed information, and to correct the

tradeline or delete it from Plaintiff’s consumer file.

      65.    Upon information and belief, Experian timely notified Truist of

Plaintiff’s dispute, via e-OSCAR or otherwise, and provided the supporting

documents submitted with Plaintiff’s dispute.


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      66.    Alternatively, Experian failed to notify Truist of Plaintiff’s dispute,

and/or failed to provide the supporting documents submitted with Plaintiff’s dispute.

      67.    Plaintiff did not receive a response from Experian, so Plaintiff

resubmitted his dispute in December of 2023.

      68.    Plaintiff reviewed his Experian report again on February 19, 2024.

      69.    The February 19, 2024 Experian credit report contained the same errors

which Plaintiff had previously disputed.

      70.    Defendant’s post-investigation reporting is false and misleading.

      71.    Upon information and belief, Experian failed to notify Truist of

Plaintiff’s dispute and to provide the supporting documents supplied by Plaintiff as

required by 15 U.S.C. § 1681i despite its written assurance to Plaintiff to the

contrary.

      72.    Upon information and belief, Defendant did not perform any

reinvestigation of Plaintiff’s dispute, under either “standard” or “expedited”

procedures, as described by § 1681i(a)(8), but instead simply repeated the inaccurate

tradeline information.

      73.    Plaintiff’s dispute was neither frivolous nor irrelevant.




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      74.    Defendant did not inform Plaintiff that it had determined the dispute

was frivolous or irrelevant.

      75.    Defendant never informed Plaintiff that it required additional

information to investigate Plaintiff’s dispute.

      76.    Defendant’s post-investigation reporting is, independently and jointly,

false and misleading.

      77.    Defendant’s post-investigation reporting is in derogation of the Metro

2 reporting standards, and that departure and failure to adhere to the adopted

guidelines renders the reporting both false and materially misleading, as users of

consumer reports assume Defendant’s compliance with Metro 2 standards in

reporting consumer information.

      78.    There is no indication in the tradeline that Plaintiff has disputed the

information reported and published by Defendant, and the failure to note Plaintiff’s

legitimate dispute of the Truist tradeline renders the reporting materially misleading.

      79.    Plaintiff is informed and believes that the revised tradeline reflects any

information provided by Truist to Experian in response to Plaintiff’s dispute.

                               INJURIES-IN-FACT




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      80.    Defendant’s actions and omissions have caused Plaintiff to lose time

attempting to correct the false information on Plaintiff’s consumer report.

      81.    The time spent by a person attempting to correct a false credit report

constitutes a concrete injury for purposes of an FCRA claim. Pinson v. JPMorgan

Chase Bank, Nat’l Ass’n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at *5 (11th

Cir. Nov. 12, 2019), citing Pedro v. Equifax, Inc., 868 F.3d 1275, 1280 (11th Cir.

2017).

      82.    Defendant’s actions and omissions have resulted in the illegitimate

suppression of Plaintiff’s FICO credit score and other credit rating model scores.

      83.    The adverse effect on Plaintiff’s credit score places Plaintiff at the

material risk of being denied credit or receiving less favorable credit terms than he

otherwise would.

      84.    Further, the Courts have regularly held that allegations of lower credit

scores, taken as true, are sufficient to allege a concrete injury-in-fact for the purposes

of standing under Article III. Pedro v. Equifax, Inc., 868 F.3d 1275 (11th Cir. 2017)

(“[H]er credit score dropped 100 points as a result of the challenged conduct.

Because Pedro alleged that she suffered an injury in fact, she has standing to pursue

her complaint.”); Diedrich v. Ocwen Loan Servicing, LLC, 839 F.3d 583 (7th Cir.


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2016) (standing where Plaintiffs alleged that they “have suffered damage to their

credit and been forced to pay Ocwen greater payments and a higher interest rate”);

Santangelo v. Comcast Corp., 162 F. Supp. 3d 691 (N.D. Ill. 2016) (“a depleted

credit score is sufficient to constitute an injury-in-fact for the purposes of

establishing Article III standing”); Binns v. Ocwen Loan Servicing, LLC, No. 14-

01764, 2015 U.S. Dist. LEXIS 132743, 2015 WL 5785693, at *9 (S.D. Ind. Sept.

30, 2015) (“injuries to plaintiffs’ credit scores and reputations were considered

intangible harms”); Rothman v. U.S. Bank Nat’l Ass’n, No. 13-03381, 2014 U.S.

Dist. LEXIS 141100, 2014 WL 4966907, at *5 (N.D. Cal. Oct. 3, 2014) (“Injury to

a credit score is sufficient to constitute ‘actual damages’”); Green v. RentGrow, Inc.,

No. 2:16cv421, 2016 U.S. Dist. LEXIS 166229 (“A decrease in credit score may

still establish an injury in fact sufficient to confer standing”); Adams v. Fifth Third

Bank, No. 3:16-CV-00218-TBR, 2017 U.S. Dist. LEXIS 18932 (W.D. Ky. Feb. 9,

2017) (“Plaintiffs’ allegations of lower credit scores … are sufficient to allege a

concrete injury-in-fact for the purposes of standing under Article III.”); and,

Coulbertson v. Experian Info. Sols., Inc., No. 16-cv-05672-RS, 2017 U.S. Dist.

LEXIS 69484 (N.D. Cal. Mar. 24, 2017) (“At a minimum, Coulbertson has alleged




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a sufficient injury-in-fact through her claim that her credit score suffered as a result

of the credit report she disputes”).

      85.    Defendant’s actions and omissions have resulted in the illegitimate

suppression of Plaintiff’s credit-based insurance scores.

      86.    The adverse effect on Plaintiff’s credit-based insurance scores places

Plaintiff at the material risk of being denied insurance or receiving less favorable

insurance rates and terms than he otherwise would.

      87.    Defendant’s actions and omissions have caused Plaintiff’s credit report

to falsely indicate that Plaintiff’s Mortgage is closed and has a balance of $0,

suggesting that the account was discharged in Plaintiff’s Bankruptcy Case, thereby

denying Plaintiff the positive effect of the reporting of their Mortgage payments over

the course of the Chapter 13.

      88.    This false impression creates a material risk that Plaintiff would be

denied credit, receive less favorable credit treatment than Plaintiff otherwise would,

or receive other unfavorable treatment than Plaintiff otherwise would, from any

viewer of Plaintiff’s Experian credit report engaged in judgment-based lending.




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      89.    Plaintiff’s correct payment history would be included in Plaintiff’s

Experian credit report if Defendant had conducted appropriate investigation of

Plaintiff’s dispute.

      90.    However, because the Mortgage is falsely reported in Plaintiff’s

Experian credit report as having a $0 balance, having a $0 monthly payment, and

being closed, Plaintiff will be forced to pursue alternative, more time-consuming,

and more expensive means of demonstrating his payment history to a potential

lender.

      91.    Because Defendant failed to comply with their duties under the FCRA

as detailed herein, Plaintiff will need to obtain and provide verification of the

Mortgage, bank statements, and/or other documents to demonstrate his payment

history for the previous 12 months.

      92.    This requires Plaintiff to expend more time, effort, and money due to

Defendant’s failures to abide by its obligations under the FCRA.

                                      DAMAGES

                                 Actual Damages

      93.    As a result of Defendant’s actions and omissions, Plaintiff has suffered

actual damages.


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      94.    These damages include out-of-pocket expenses incurred as a result of

Defendant’s wrongful representations regarding the Mortgage, and Defendant’s

failures to abide by their obligations under the FCRA.

      95.    Plaintiff has suffered a decrease in Plaintiff’s credit score as a result of

Defendant’s wrongful representations regarding the Mortgage, and Defendant’s

failures to abide by their obligations under the FCRA.

      96.    Plaintiff has also experienced physical symptoms of aggravation,

frustration, and stress due to the fact that Defendant is thwarting Plaintiff from

receiving the Fresh Start guaranteed by bankruptcy process and discharge.

                         Statutory and Punitive Damages

      97.    At the time Defendant reported the information at issue in this matter,

Defendant had actual notice that the information it was reporting regarding Plaintiff

and the Mortgage was false, deceptive, and misleading.

      98.    For example, Plaintiff included corroborating documents which was

more than sufficient to establish that the disputed information was being reported

inaccurately.

      99.    Defendant had more than enough information to correct its false,

deceptive, and misleading reporting.


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      100. Despite that, Defendant continued to report the false, deceptive, and

misleading information regarding Plaintiff and the Mortgage.

      101. Defendant failed to correct its false, deceptive, and misleading

reporting, and in fact continued to report false, deceptive, and misleading

information regarding Plaintiff, as described herein.

      102. Accordingly, Defendant’s conduct was willful.

      103. As a result of Defendant’s willful actions and omissions, Plaintiff is

eligible to recover actual damages or statutory damages of up to $1,000, potential

punitive damages, costs of this action, and reasonable attorney’s fees pursuant to 15

U.S.C. §§ 1681n and/or 1681o.

                              CAUSES OF ACTION

          VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                    15 U.S.C. §§ 1681e(b) and 1681i
                  Experian Information Solutions, Inc.

      104. Plaintiff incorporates by reference the preceding paragraphs as though

fully stated herein.

      105. Pursuant to 15 U.S.C. § 1681e(b), Experian is responsible for following

reasonable procedures to assure maximum possible accuracy of information

whenever it prepares consumer reports about Plaintiff.


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      106. Pursuant to 15 U.S.C. § 1681i(a)(1)(A), Experian had an affirmative

duty to independently investigate the dispute submitted by Plaintiff.

      107. Pursuant to 15 U.S.C. § 1681i(a)(2), Experian was required to

communicate the specifics of Plaintiff’s dispute to Truist, including the forwarding

of any documents provided by Plaintiff in support of that dispute.

      108. A consumer reporting agency’s reasonable reinvestigation must be a

good faith effort to ascertain the truth; a reasonable reinvestigation must answer the

substance of the consumer’s dispute, and may not merely be a pro forma record

review that simply begs the question.

      109. A reasonable reinvestigation clearly requires some degree of careful

inquiry, and more than just a superficial inquiry.

      110. The reasonableness of a reinvestigation under the FCRA is generally a

question of fact for the jury.

      111. In order to conduct a reasonable reinvestigation, and pursuant to 15

U.S.C. § 1681i(a)(4), Experian was required to review and consider all relevant

information submitted by Plaintiff.

      112. Plaintiff’s dispute was clear and unambiguous as to the inaccuracies of

Experian’s reporting of the Mortgage.


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      113. Plaintiff provided all the relevant information necessary for Experian

to conduct a reasonable reinvestigation, and correct the inaccuracies in its reporting.

      114. Experian breached its duties as described herein.

      115. If Experian had conducted a reasonable reinvestigation of Plaintiff’s

dispute, Experian would have reviewed and considered all of the information

Plaintiff submitted in his dispute, and would have easily detected that what was

being reported regarding the Mortgage was factually incorrect, inaccurate, and

misleading.

      116. If Experian had conducted a reasonable reinvestigation of Plaintiff’s

dispute, the Truist tradeline on Plaintiff’s Experian consumer report would have

been appropriately corrected.

      117. Due to Experian’s failures to follow reasonable procedures to assure

maximum possible accuracy of information, and failures to conduct a reasonable

reinvestigation of Plaintiff’s dispute, the false and misleading information in

Plaintiff’s credit file and on Plaintiff’s Experian report was not appropriately

modified.

      118. Experian had all the information necessary to correct its reporting.

Despite that, Experian failed to correct the false, disputed information, in the face of


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clear evidence that its reporting was false and misleading. That failure indicates that

Experian’s reinvestigation procedures were not reasonable.

      119. The fact that Experian had all the information necessary to correct its

reporting, yet failed to do so in an appropriate manner, further indicates that Experian

recklessly disregarded Plaintiff’s dispute and the requirements of the FCRA,

amounting to a willful violation of the statute.

      120. Upon information and belief, Experian has prepared consumer reports

containing the incomplete and inaccurate information at issue, and has published the

incomplete and inaccurate information to third parties.

      121. Experian willfully, or in the alternative negligently, violated 15 U.S.C.

§ 1681e(b) by failing to follow reasonable procedures to assure the maximum

possible accuracy of information concerning Plaintiff in his consumer reports, in

reckless disregard of the statutory requirements, Plaintiff’s dispute, and the publicly

recorded Bankruptcy Case filings.

      122. Experian willfully, or in the alternative negligently, violated 15 U.S.C.

§ 1681i in multiple ways, including without limitation, by failing to properly notify

Truist of Plaintiff’s dispute, by failing to provide Truist with all the supporting

information/documents included with Plaintiff’s dispute, by failing to conduct a


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reasonable reinvestigation of Plaintiff’s dispute, and by failing thereafter to

appropriately modify information in Plaintiff’s file and on his consumer reports, in

reckless disregard of the statutory requirements, Plaintiff’s dispute, and the publicly

recorded Bankruptcy Case filings.

      123. As a result of Experian’s violations of 15 U.S.C. §§ 1681e(b) and 1681i,

Plaintiff has suffered actual damages as described herein. Plaintiff is, therefore,

entitled to recover actual damages from Experian pursuant to 15 U.S.C. §§ 1681n

and 1681o.

      124. Experian’s actions and omissions were willful, rendering Experian

liable to Plaintiff for punitive damages and/or statutory damages pursuant to 15

U.S.C. § 1681n.

      125. Plaintiff is entitled to recover costs and attorneys’ fees from Experian

pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                 TRIAL BY JURY

      126. Plaintiff is entitled to and hereby request a trial by jury.

      WHEREFORE, Plaintiff prays that judgment be entered in his favor and

against Defendant for:

             a)     Plaintiff’s actual damages;


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       b)    Statutory damages of $1,000 per violation of the FCRA pursuant

             to 15 U.S.C. § 1681n;

       c)    Punitive damages pursuant to 15 U.S.C. § 1681n;

       d)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. §§

             1681n and/or 1681o; and

       e)    Such other and further relief as may be just and proper.

 Respectfully submitted this 24th day of March, 2024.

                                       BERRY & ASSOCIATES

                                       /s/ Matthew T. Berry
                                       Matthew T. Berry
                                       Georgia Bar No.: 055663
                                       matt@mattberry.com
                                       Telephone: (404) 235-3334
                                       2751 Buford Highway, Suite 600
                                       Atlanta, GA 30324

                                       /s/ Chris Armor
                                       Christopher N. Armor
                                       Georgia Bar No. 614061
                                       P.O. Box 509
                                       Londonderry, Vermont 05148
                                       Phone 651-208-6441
                                       Fax 404-592-6102
                                       chris.armor@armorlaw.com

                                       Counsel for Plaintiff



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